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                    EXHIBIT 40
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                                                                                         Larsen & Toubro Limited


  Q LARSEN & TOUBRO                                                                      Secretarial Department
                                                                                         L&T House, Ballard Estate
                                                                                         Narottam Morarjee Marg
                                                                                         Mumbai - 400 001, INDIA
                                                                                         Tel: +91 22 6752 5656
                                                                                         Fax: +91 22 6752 5893
                                                                                         www.Larsen toubro.corn


 SEC/PAM/2019                                                         February 28, 2019

 The Secretary                                National Stock Exchange Of India Limited
 BSE Limited                                  Exchange Plaza, 5th Floor
 Phiroze Jejeebhoy Towers,                    Plot No.C/1, G Block
 Dalai Street,                                Bandra-Kurla Complex
 MUMBAI - 400 001s                            Bandra (E), Mumbai - 400 051
 STOCK CODE: 500510                           STOCK CODE: LT


 Dear Sirs,

                  Sub:    Company's clarification to the Stock Exchanges
                          dated 18th February 2019 — Further Update

 This refers to the articles in the media making allegations against the Company based
 on the settlement by Cognizant Technology Solutions ("CTS") with the U.S. Securities
 and Exchange Commission (SEC) acknowledging violations of the U.S. Foreign
 Corrupt Practices Act ("FCPA") in connection with certain construction projects in
 India. The Company had clarified that it was not aware of any evidence that supported
 the Company's involvement in making the alleged improper payments.
 During the Audit Committee meeting held on 27th February 2019, the management
 presented all details of the Company's construction contracts with CTS, including
 particulars of development relating to the recent settlement between CTS and SEC
 and the ongoing proceedings before Department of Justice, USA (DOJ)
 In this connection, the Company also briefed the Audit Committee of the management-initiated
 investigation conducted by leading law firms in USA and India with the help of forensic experts
 from Hong Kong in 2017.
 While noting that there was no evidence of the involvement of the Company or any of its
 executives as alleged based on information provided, the Audit Committee decided to seek
 assistance of an external expert to review the details of investigations conducted on behalf of
 the Company in 2017, based on which it will decide the future course of action.

 Thanking you,
                                                            Yours faithfully,
                                                 for LARSEN & TOUBRO LIMITED


                                                          N. HARIHARAN
                                                   EXECUTIVE VICE PRESIDENT &
                                                      COMPANY SECRETARY
                                                           (ACS 3471)


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